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  8                                UNITED STATES DISTRICT COURT
  9                              CENTRAL DISTRICT OF CALIFORNIA
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 11   M & M HART LIVING TRUST, et al.              No. 2:17-CV-01479 PA (MRWx)

 12                          Plaintiffs,           JUDGMENT OF DISMISSAL

 13          v.

 14   GLOBAL EAGLE ENTERTAINMENT,
      INC., et al.,
 15
                             Defendants.
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 17
             In accordance with the Court’s October 30, 2017 Minute Order granting the Motion
 18
      to Dismiss filed by defendants Global Eagle Entertainment, Inc., David M. Davis, and
 19
      Thomas E. Severson, Jr. (collectively “Defendants”),
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             1.      IT IS HEREBY ORDERED, ADJUDGED, and DECREED that the Second
 21
      Amended Complaint is dismissed without leave to amend;
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             2.      IT IS FURTHER ORDERED, ADJUDGED, and DECREED that Defendants
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      shall have judgment in their favor; and
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             3.      IT IS FURTHER ORDERED, ADJUDGED, and DECREED that plaintiffs
 25
      M & M Hart Living Trust and Randi Williams shall take nothing and Defendants shall have
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      their costs of suit.
 27
       DATED: October 30, 2017                      ___________________________________
 28                                                            Percy Anderson
                                                      UNITED STATES DISTRICT JUDGE
